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 6                                    UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF ARIZONA
 8   Michael Andrew Collier, and Kim Collier-             No. CV 12-02161-PHX-JAT
     Dingman,
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                                                          ORDER TO DISMISS
10                      Plaintiffs,                       WITH PREJUDICE
11           vs.
12   Gurstel Chargo, P.A.,
13
                        Defendant.
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15
             Pursuant to the stipulation of the parties (Doc. 72),
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             IT IS ORDERED that this case is dismissed, with prejudice, in accordance with the terms of
17
     the stipulation.
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             Dated this 5th day of August, 2013.
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